                                                Case 4:20-cv-05640-YGR                                    Document 28             Filed 08/19/20               Page 1 of 1


  UNITED STATES DISTRICT COURT                                                                          TRANSCRIPT ORDER                                                                         COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                               Please use one form per court reporter.                                                               DUE DATE:
                 CAND 435                                                                          CJA counsel please use Form CJA24
             (CAND Rev. 08/2018)                                                               Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                                2a. CONTACT PHONE NUMBER                                                3. CONTACT EMAIL ADDRESS
Jerry Riedl                                                                      (212) 474-1000                                                           mao@cravath.com
1b. ATTORNEY NAME (if different)                                                 2b. ATTORNEY PHONE NUMBER                                               3. ATTORNEY EMAIL ADDRESS
Katherine B. Forrest                                                             (212) 474-1151                                                            kforrest@cravath.com
4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                  5. CASE NAME                                                                              6. CASE NUMBER

Cravath, Swaine & Moore LLP                                                                                 Epic Games, Inc. v. Apple Inc.                                                            20-cv-05640
825 Eighth Avenue
New York, NY 10019                                                                                         8. THIS TRANSCRIPT ORDER IS FOR:
                                                              x FTR
7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX)→ ❐                                            ❐ APPEAL           ❐ CRIMINAL         ❐ In forma pauperis (NOTE: Court order for transcripts must be attached)
                                                                                                           ❐ NON-APPEAL       ✔ CIVIL
                                                                                                                              ❐                  CJA: Do not use this form; use Form CJA24.


9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

                                                                                          b.       SELECT FORMAT(S) (NOTE: ECF access is included
 a.     HEARING(S) (OR PORTIONS OF HEARINGS)                                                                                                             c.        DELIVERY TYPE ( Choose one per line)
                                                                                                   with purchase of PDF, text, paper or condensed.)

      DATE          JUDGE             TYPE                     PORTION                       PDF        TEXT/ASCII    PAPER   CONDENSED    ECF ACCESS   ORDINARY       14-Day   EXPEDITED    3-DAY     DAILY      HOURLY     REALTIME
                                                  If requesting less than full hearing,    (email)        (email)               (email)       (web)     (30-day)                 (7-day)             (Next day)    (2 hrs)
                     (initials)    (e.g. CMC)    specify portion (e.g. witness or time)

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08/19/2020          YGR             Zoom




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10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:

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ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                              12. DATE
11. SIGNATURE
                 /s/ Jerry Riedl                                                                                                                                                  08/19/2020


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